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 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Craig T. Cagney
       (admitted pro hac vice)
 3   DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
 4   New York, New York 10017
     Telephone: (212) 450-4000
 5   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 6            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 7
     Micah G. Block (SBN 270712)
 8   DAVIS POLK & WARDWELL LLP
     1600 El Camino Real
 9   Menlo Park, California 94025
     Telephone: (650) 752-2000
10   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
11
     Attorneys for Plaintiffs WhatsApp Inc. and
12   Facebook, Inc.

13                                UNITED STATES DISTRICT COURT

14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                        OAKLAND DIVISION

16    WHATSAPP INC., a Delaware corporation,
                                        )
      and FACEBOOK, INC., a Delaware    )           Case No. 4:19-cv-07123-PJH
17    corporation,                      )
                                        )           PLAINTIFFS’ OPPOSITION TO
18                    Plaintiffs,       )           DEFENDANTS’ MOTION TO
                                        )           SHORTEN DEADLINES FOR MOTION
19           v.                         )           FOR ENTRY OF PROTECTIVE ORDER
                                        )
20    NSO GROUP TECHNOLOGIES LIMITED )              Ctrm: 3
      and Q CYBER TECHNOLOGIES LIMITED, )           Before the Honorable Phyllis J. Hamilton
21                                      )
                      Defendants.       )           Action Filed: Oct. 29, 2019
22                                      )

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 1          On July 21, 2020, Plaintiffs WhatsApp Inc. and Facebook, Inc. (together, “Plaintiffs”)

 2   initiated discussions on a stipulated protective order and sent a draft to Defendants NSO Group

 3   Technologies Limited and Q Cyber Technologies Limited (together, “NSO”). Despite the parties’

 4   progress through the meet and confer process, a mere ten days later, on Friday, July 31, NSO

 5   proposed an entirely new and different draft protective order—as NSO acknowledges. 1 Because

 6   their new draft departs materially from this District’s model order, backtracks on numerous issues

 7   already resolved in the parties’ negotiations, and threatens unfair prejudice (because it fails to

 8   address the Parties’ needs), Plaintiffs declined to accept it and urged NSO instead to proceed with

 9   the ongoing negotiations. NSO then abruptly moved the Court to enter its novel and one-sided

10   protective order, and further moved to shorten time for Plaintiffs to respond. 2

11          The motion to shorten Plaintiffs’ time to respond should be denied because it fails to show

12   good cause as required by the Local Rules, which—among other things—require the moving party

13   to identify the “substantial harm or prejudice that would occur if the Court did not change the

14   time.” Civ. L.R. 6-3(a). Defendants do not even cite this standard, let alone meet it. NSO’s

15   motion is not predicated on “substantial harm or prejudice,” but instead relies on vague assertions

16   that NSO has “recently obtained” some unspecified “information” that NSO’s counsel “believes is

17   of great importance”—without specifying why, or to what issues, it is “important,” let alone why it

18   requires expedited consideration and entry of NSO’s one-sided alternative protective order. Mot. to

19   Shorten at 1. Likewise, NSO’s motion urges that this “information” must be made available to the

20   Court and Plaintiffs “quickly,” but offers no basis for its claims of urgency (other than NSO’s

21   “belief” that it is urgent). See id. at 1–2. The motion to shorten time should therefore be denied.

22          In addition, the motion for entry of NSO’s proposed protective order should be denied as

23   premature given NSO’s failure to satisfy its meet-and-confer obligations under Local Rule 37-1(a),

24   which requires “counsel [to] have previously conferred for the purpose of attempting to resolve all

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26           See Declaration of Joseph N. Akrotirianakis in Support of Motions of Defendants NSO
     Group Technologies Limited and Q Cyber Technologies Limited for a Protective Order and to
     Shorten Filing Deadlines, Dkt. No. 115-1 ¶¶ 4–8 (“Defs.’ Decl.”).
27          2
              See Defs.’ Mot for Entry of Protective Order, Dkt. No. 114 (“Mot.”); Defs.’ Mot. to
28   Shorten Deadlines for Mot. for Entry of Protective Order, Dkt. No. 115 (“Mot. to Shorten”).
                                                         1
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 1   disputed issues” before the Court “will [] entertain a request or a motion to resolve a . . . discovery

 2   dispute.” As noted, the Parties had made substantial progress toward a stipulated protective order

 3   before NSO submitted to the Court a new proposal that the Parties have not discussed in any detail.

 4   If the Court desires further briefing on the merits of NSO’s new proposal, Plaintiffs are prepared to

 5   respond. But that is unnecessary. The Court should instead reject NSO’s attempt to end-run the

 6   discovery process in violation of the Local Rules. Civ. L.R. 37-1(a).

 7          To be clear, Plaintiffs share NSO’s interest in moving discovery ahead and look forward to

 8   receiving discovery from NSO, which NSO has thus far refused to provide. See Plaintiffs’ Motion

 9   to Compel Discovery, Dkt. No. 116. To that end, Plaintiffs offer an alternative approach and

10   respectfully submit that, rather than enter a deadline for briefing on NSO’s motion for entry of its

11   preferred protective order, the Court should enter a prompt deadline—e.g., four days from its ruling

12   on this motion, which is the deadline NSO requested for a responsive brief—for the Parties to

13   complete their meet-and-confer discussions and submit either a stipulated protective order or a joint

14   statement identifying the issues still in dispute after the meet-and-confer process has been

15   completed. This would make more efficient use of the Court’s time, advance the exchange of

16   discovery, and avoid needless motion practice.

17   I.     NSO HAS NOT SHOWN GOOD CAUSE FOR SHORTENING TIME

18          NSO’s motion to shorten time should be denied for failure to demonstrate good cause as

19   required by the Local Rules. Local Rule 6-3 requires a party seeking to shorten time to identify the

20   “substantial harm or prejudice that would occur if the Court did not change the time” and set forth

21   “with particularity[] the reasons for the requested . . . shortening of time.” Civ. L.R. 6-3(a). Under

22   this Rule, the moving party must “sufficiently set forth a ‘substantial harm or prejudice’ that would

23   result from the denial of the motion,” and may not leave the Court “to guess or read between the

24   lines of [the moving party’s] briefs and declaration to suss out the prejudice they might suffer.”

25   Wilson v. Frito-Lay N. Am., Inc., 2015 WL 846546, at *2 (N.D. Cal. Feb. 25, 2015); see also

26   O’Connor v. Uber Techs., Inc., 2013 WL 5232500, at *2 (N.D. Cal. Sept. 17, 2013) (denying

27   motion to shorten time where movant failed to “specifically identif[y] an impending time-critical

28   event that would warrant shortening time”).
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 1           NSO has not established that it will face any substantial harm or prejudice if its motion to

 2   shorten time is denied. Nor has it identified any “impending time-critical event” or other

 3   particularized reason to shorten time. Instead, NSO merely intimates that (1) it has “recently

 4   obtained” unspecified “information” that it believes “is of considerable importance,” and that it

 5   “believe[s] it is urgent” for the Court and Plaintiffs to receive; (2) “Plaintiffs will be prejudiced

 6   because they are continuing to litigate the matter actively without the important information”; (3)

 7   the “Court will be prejudiced because it will be presiding over a matter without information that

 8   will affect the orderly disposition and litigation of this case”; and (4) NSO will be “prejudiced

 9   because, at pain of legal sanction, [it] will be required to withhold the important information.”

10   Mot. to Shorten at 1–2. But NSO never explains why the relief it seeks—i.e., expedited entry of its

11   preferred form of a protective order, notwithstanding that the parties have not meaningfully

12   conferred regarding it—is necessary for it to provide the Court or Plaintiffs this unspecified

13   “information.” Nor does it identify the “pain of legal sanction” that it fears, or why the protective

14   order already under negotiation cannot address it.

15           NSO’s generic and unsupported statements do not constitute the good cause that Local Rule

16   6-3 requires. Civ. L.R. 6-3(a); see Lucas v. Hertz Corp., 2012 WL 3638568, at *5 (N.D. Cal. Aug.

17   22, 2012) (denying motion to shorten where the plaintiff’s statements in support of the motion were

18   “generic and unsupported”). The Court should therefore deny NSO’s motion to shorten time.

19   II.     NSO’S MOTION FOR A PROTECTIVE ORDER IS PREMATURE
20           In the interest of judicial efficiency, the Court should not only deny NSO’s motion to

21   shorten time but also deny NSO’s motion for entry of a protective order as premature because NSO

22   has demonstrably failed to comply with its meet-and-confer obligations. Civ. L.R. 37-1(a). Instead

23   of entering a shortened deadline for further briefing on NSO’s motion, Plaintiffs respectfully

24   submit that the Court should direct the parties to complete their negotiations as to the

25   comprehensive protective order already under discussion and submit either an agreed order or a

26   joint letter setting forth the remaining disputes, if any, within four days of the Court’s order on the

27   motion to shorten time. Doing so would lead to the result NSO claims to want, and which Plaintiffs

28   certainly want—i.e., the expeditious entry of a protective order—without unnecessarily burdening
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 1   the Court. Moreover, it is likely to produce that outcome faster than NSO’s needless motion

 2   practice.

 3          Local Rule 37-1(a) requires “counsel [to] have previously conferred for the purpose of

 4   attempting to resolve all disputed issues” before the Court “will [] entertain a request or a motion to

 5   resolve a . . . discovery dispute.” NSO has not met those obligations. Even on NSO’s own version

 6   of the facts, it is clear that NSO has improperly curtailed the parties’ discussions and pushed its

 7   new protective order before the Court without conferring as the Local Rules require. As NSO

 8   acknowledges, the Parties began negotiating a protective order on July 21, when Plaintiffs proposed

 9   a draft order. See Mot. at 2. Those discussions proceeded for only ten days before NSO veered

10   away by suggesting that the Parties stipulate to a different protective order. See Defs.’ Decl. ¶¶ 4–

11   5; Declaration of Micah Block ¶¶ 3, 5 (“Block Decl.”). NSO then sent its new proposed protective

12   order to Plaintiffs on July 31. Defs.’ Decl. ¶ 6. 3 Plaintiffs offered to discuss a temporary

13   accommodation for the information NSO wanted to provide, but NSO declined. Block Decl. ¶ 7.

14   After Plaintiffs declined to stipulate to NSO’s unilateral new proposal during a meet-and-confer the

15   next business day, NSO filed its motions that same day. See Defs.’ Decl. ¶¶ 5–8.

16          Since NSO’s filings, Plaintiffs have continued to seek a negotiated resolution. As recently

17   as August 6 (yesterday), Plaintiffs again offered to negotiate appropriate protections for whatever

18   information NSO wants to share “urgently,” and proposed agreeing to complete negotiations for a

19   protective order this coming Monday, August 10. See Block Decl. ¶ 9. NSO did not agree. See id.

20          Far from having “attempt[ed] to resolve all disputed issues” regarding NSO’s proposed

21   protective order, Civ. L.R. 37-1(a), the Parties have not even discussed that version in any detail.

22   See Block Decl. ¶ 7. NSO’s proposal diverges from this District’s Model Order, as NSO

23   acknowledges. See Defs.’ Decl. ¶¶ 3, 5–6. And although NSO represents that its proposal is

24   “based on” the Model Order “except as noted with underscored text,” Mot. at 3, NSO failed to

25   identify numerous provisions it omitted from the Model Order. See Block Decl. Ex. E. Moreover,

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               NSO describes its proposed protective order as “temporary,” Mot. to Shorten at 1, but
27   offers a draft that would govern until superseded. Dkt. No. 114-1 at 2-3. Nothing in NSO’s
     proposal would prohibit it from refusing to negotiate a superseding order and leaving its form in
     place.
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 1   NSO’s draft backtracks on the progress the Parties made toward a protective order before NSO

 2   changed tack. Indeed, relatively few disputes remain in the parties’ most recent drafts. See Block

 3   Decl. ¶ 4 & Ex. B.

 4          NSO’s departures from the model and from the parties’ negotiations threaten unfair

 5   prejudice to Plaintiffs by restricting use and/or disclosure of protected material in a manner that will

 6   likely interfere with Plaintiffs’ ability to conduct the litigation, and Plaintiffs are prepared to submit

 7   a merits brief explaining in further detail why Plaintiffs’ motion for a protective order should be

 8   denied. However, Plaintiffs respectfully submit that in the interest of efficiency, the Court should

 9   not only deny NSO’s motion to shorten time, but also dispense with further briefing on NSO’s

10   motion for entry of protective order, and instead direct the Parties to promptly conclude

11   negotiations on a general protective order under the expedited procedure outlined above. Plaintiffs

12   have provided a proposed order to this effect for the Court’s convenience.

13          In the alternative, if the Court prefers immediately to enter a protective order, the Court

14   should enter the order attached as Exhibit B to the Block Declaration, which reflects the Parties’

15   original discussions. Although NSO has insisted (without any specific explanation of why) that the

16   Court enter a protective order urgently, it has not explained why its preferred form of such an order

17   should be entered. If any protective order is to be entered now, it should be Plaintiffs’ proposal—

18   which, unlike NSO’s version, reflects at least some discussion and agreement between the Parties.

19                                               CONCLUSION

20          Plaintiffs respectfully request that the Court (1) deny Defendants’ Motion to Shorten

21   Deadlines, (2) deny Defendants’ Motion for a Protective Order as premature, and (3) enter the

22   attached order setting a deadline for the Parties to complete their negotiations and either submit a

23   stipulated protective order, or a joint submission regarding any disputed issues, by four days after

24   entry of the Court’s order on the Motion to Shorten Deadlines. In the alternative, if the Court is

25   inclined to enter a protective order immediately, Plaintiffs respectfully request that it enter the order

26   attached as Exhibit B to the Block Declaration.

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 1    Dated: August 7, 2020                         Respectfully Submitted,

 2
                                                    DAVIS POLK & WARDWELL LLP
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 4                                                  By: /s/ Micah G. Block
                                                        Greg D. Andres
 5                                                      Antonio J. Perez-Marques
 6                                                      Craig T. Cagney
                                                          (admitted pro hac vice)
 7                                                      DAVIS POLK & WARDWELL LLP
                                                        450 Lexington Avenue
 8                                                      New York, New York 10017
                                                        Telephone: (212) 450-4000
 9                                                      Facsimile: (212) 701-5800
10                                                      Email: greg.andres@davispolk.com
                                                                antonio.perez@davispolk.com
11                                                              craig.cagney@davispolk.com

12                                                       Micah G. Block (SBN 270712)
                                                         DAVIS POLK & WARDWELL LLP
13
                                                         1600 El Camino Real
14                                                       Menlo Park, California 94025
                                                         Telephone: (650) 752-2000
15                                                       Facsimile: (650) 752-2111
                                                         Email: micah.block@davispolk.com
16
                                                         Attorneys for Plaintiffs WhatsApp Inc. and
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                                                         Facebook, Inc.
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